







		NO. 12-09-00018-CR


NO. 12-09-00019-CR


NO. 12-09-00020-CR


NO. 12-09-00021-CR


NO. 12-09-00022-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




ERIC LAMAR ERSKINE,§
	APPEALS FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant pleaded guilty to five charges of aggravated assault with a deadly weapon.  On
December 12, 2008, the trial court sentenced Appellant to imprisonment for eighteen years on each
charge.  We have received the trial court's certifications showing that Appellant waived his right to
appeal in each case.  See Tex. R. App. P. 25.2(d).  The certifications are signed by Appellant and his
counsel.  We have also been furnished with a copy of the waiver in each case, also signed by
Appellant and his counsel.  See Greenwell v. Thirteenth Court of Appeals, 159 S.W.3d 645, 649
(Tex. Crim. App. 2005); Dears v. State, 154 S.W.3d 610, 614-15 (Tex. Crim. App. 2005). 
Accordingly, the appeals are dismissed for want of jurisdiction.

Opinion delivered January 21, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)


